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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                 8:12CR307
                      Plaintiff,               )
                                               )
       vs.                                     )                  ORDER
                                               )
JAMIE WALKER,                                  )
                                               )
                      Defendant.               )


       This matter is before the Court on the motion of defendant Jamie Walker (Walker)
for an extension of the pretrial motion deadline (Filing No. 29). The motion does not comply
with NECrimR 12.1 (a) and paragraph 9 of the Progression Order (Filing No. 22) in that the
motion is not accompanied by the defendant’s affidavit or declaration stating that
defendant:
       (1)    Has been advised by counsel of the reasons for seeking a continuance;
       (2)    Understands that the time sought by the extension may be excluded from any
              calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
       (3)    With this understanding and knowledge, agrees to the filing of the motion.

       Accordingly, the motion (Filing No. 29) is :
              ( X ) Held in abeyance pending compliance with NECrimR 12.1(a) and
                      Paragraph 9 of the Progression Order. Absent compliance on or
                      before October 26, 2012, the motion will be deemed withdrawn and
                      termed on the docket.
              (   )   Denied.


       IT IS SO ORDERED.


       DATED this 22nd day of October, 2012.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
